             Case 2:96-cr-00350-WBS Document 894 Filed 09/30/14 Page 1 of 3


     BENJAMIN B. WAGNER
 1 United States Attorney
   WILLIAM S. WONG
 2 JASON HITT
   Assistant United States Attorneys
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                          CASE NO. CR.S-96-00350-WBS
11
                                  Plaintiff,            GOVERNMENT’S MOTION FOR
12                                                      EXTENSION OF TIME TO RESPOND
                            v.                          TO ORDER TO SHOW CAUSE
13
     PING SHERRY CHAN,
14
                                  Defendant.
15

16

17          The United States of America, through its counsel of record, William S. Wong, Assistant United
18 States Attorney, hereby respectfully requests an extension of time to respond to the Court's Order to

19 Show Cause.

20          The court originally set February 18, 2014 to respond to its order. The government requested
21 and was granted extensions of time to September 19, 2014 to file its response. For the reasons

22 previously stated, the government needed additional time to resolve the charges contained in the

23 indictment captioned United States America v. Ping Sherry Chan, CRS 96 – 350 WBS. During the

24 previous extensions, the government was successful in achieving a resolution of the charges against

25 defendants Mady Chan, Linda Chan, Bao Gin Chen, Lizhen Chen, and Jimmy Leung. Additionally, the

26 government and counsel Scott Tedmon will have a resolution of defendant Danny Leung’s cases ready

27 for disposition in this court in the next few weeks. Furthermore, judgment and sentencing for defendant

28 Gary Kwong will be scheduled in this Court within 30 days. The remaining defendants in this case all

      Government’s Motion For Extension of Time         1
      To Response To Order To Show Cause
             Case 2:96-cr-00350-WBS Document 894 Filed 09/30/14 Page 2 of 3



 1 fall under the category of family members/close friends related to defendant John That Luong.

 2 Defendant John That Luong is presently serving a life sentence, plus 65 years in a federal prison on the

 3 East Coast. The Stipulation for Consent, Judgment of Forfeiture has been emailed to John That Luong’s

 4 counsel, Dan Koukol, Esq. An offer to resolve the entire case is pending. Because the defendant is

 5 housed in a Bureau of Prisons facility on the east coast, this presents a logistic problem in attempting to

 6 resolve the remaining defendants in this case, the government respectfully requests an additional 60 days

 7 to November 19, 2014, to resolve the charges pending against the remaining defendants in this case

 8 without having to utilize government resources and time necessary to adequately respond to the court's

 9 inquiry (which will require conducting research and ordering transcripts of court proceedings that relate

10 to the issue of waiver of speedy trial).

11          The government believes that with this additional extension, a resolution of the entire money

12 laundering case is a good possibility. Accordingly, the government respectfully requests that it be

13 allowed additional 60 days to November 19, 2014 to file its response to the Court’s Order to Show

14 Cause.

15
                                                             BENJAMIN B. WAGNER
16 Dated: September 26, 2014                                 United States Attorney
17
                                                             /s/ William S. Wong
18                                                           WILIAM S. WONG
                                                             Assistant United States Attorney
19

20

21

22

23

24

25

26

27

28

      Government’s Motion For Extension of Time          2
      To Response To Order To Show Cause
              Case 2:96-cr-00350-WBS Document 894 Filed 09/30/14 Page 3 of 3



 1
     BENJAMIN B. WAGNER
 2   United States Attorney
     WILLIAM S. WONG
 3   JASON HITT
     Assistant United States Attorneys
 4   501 I Street, Suite 10-100
     Sacramento, CA 95814
 5
     Telephone: (916) 554-2700
 6   Facsimile: (916) 554-2900

 7

 8 Attorneys for Plaintiff
   United States of America
 9

10                                 IN THE UNITED STATES DISTRICT COURT

11                                    EASTERN DISTRICT OF CALIFORNIA

12
     UNITED STATES OF AMERICA,                           CASE NO. CR.S-96-00350-WBS
13
                                   Plaintiff,            ORDER GRANTING GOVERNMENT’S REQUEST
14
                                                         FOR EXTENSION OF TIME TO RESPOND TO
15                          v.                           COURT’S ORDER TO SHOW CAUSE

16   PING SHERRY CHAN,

17                                 Defendant.
18

19

20          Good cause having been shown, IT IS HEREBY ORDERED that the Government's request for an
21 extension of time to respond to the Court’s Order to Show Cause IS GRANTED. The government shall file its

22 response no later than November 19, 2014.

23

24 DATED: September 30, 2014

25

26

27

28

      Government’s Motion For Extension of Time          3
      To Response To Order To Show Cause
